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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



  HANSHOW TECHNOLOGY CO., LTD. AND
  SHANGHAI HANSHI INFORMATION
  TECHNOLOGY CO., LTD.

                Plaintiffs,

  v.                                                 Civil Action No. 2:23-CV-00617

  SES-IMAGOTAG SA, SES-IMAGOTAG
  GMBH AND CAPTANA GMBH

                Defendants.




                PLAINTIFF’S CORPORATE DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1, counsel for Plaintiffs Hanshow

 Technology Co., Ltd. and Shanghai Hanshi Information Technology Co., Ltd. (collectively

 “Plaintiffs”) states as follows: Hanshow Technology Co., Ltd is a company organized and

 existing under the laws of China, with its principal place of business at Floor 4, Building 1 and

 Floor 7, Building 5, Jiaxing Guangfu Innovation Park, No.1288 Kanghe Road, Xiuzhou District,

 Jiaxing, Zhejiang Province, China. Shanghai Hanshi Information Technology Co., Ltd. is a

 wholly owned subsidiary of Hanshow Technology Co., Ltd. Shanghai Hanshi Information

 Technology Co., Ltd. is a company organized and existing under the laws of China, with its

 principal place of business at Room 155, Building L, No.2399 Zuchongzhi Road, Pudong New

 Ara, Shanghai, China 201203.
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 Date: December 19, 2023.              Respectfully submitted,

                                      /s/ Geoff Culbertson

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                                      Plaintiffs HANSHOW TECHNOLOGY CO.,
                                      LTD. and SHANGHAI HANSHI
                                      INFORMATION TECHNOLOGY CO., LTD.
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                                CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who have consented to electronic service

 are being served with a copy of this document via the Court’s CM/ECF system on December 19,

 2023.


                                                   /s/ Geoff Culbertson
                                                   Geoff Culbertson
